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    8                       UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
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   11   ISAAC HABER, derivatively on         Case No.: CV 16-1569-DMG (RAOx)
        behalf of CAPSTONE TURBINE
   12   CORPORATION,                         ORDER REGARDING STAY OF
                                             ACTION AND RELATED
   13               Plaintiff,               MATTERS [26]
   14         v.
   15   DARREN R. JAMISON,
        EDWARD I. REICH, JAYME
   16   BROOKS, RICHARD ATKINSON,
        NOAM LOTAN, GARY MAYO,
   17   GARY SIMON, ELIOT
        PROTSCH, HOLLY VAN
   18   DEURSEN, and DARRELL WILK
   19               Defendants,
   20               -and-
   21   CAPSTONE TURBINE
        CORPORATION,
   22
                    Nominal Defendant.
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                     ORDER REGARDING STAY OF ACTION AND RELATED MATTERS
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   1         The parties’ stipulation having been considered and good cause appearing, it

   2 is hereby ORDERED as follows:
   3        1.   This action, including all deadlines and hearings, is hereby stayed until

   4 the motion(s) to dismiss in the Class Action is either granted with prejudice or
   5 denied in whole or in part.
   6         2.     If Defendants engage in a mediation in the Class Action, Defendants

   7 agree to provide Plaintiff with reasonable advance notice of the mediation and shall
   8 invite Plaintiff to participate in that mediation.
   9         3.     If Defendants provide documents to the plaintiff in the Class Action in

  10 connection with a mediation or settlement discussions, Defendants agree to provide
  11 the same documents to Plaintiff in this action on the same terms they are provided to
  12 plaintiff in the Class Action.
  13        4.      By entering into this Stipulation, the Parties do not waive any rights not

  14 specifically addressed herein. Defendants reserve all rights, objections, and
  15 defenses, including but not limited to all rights to contend that Plaintiff lacks
  16 standing to maintain this case because he did not make a pre-suit demand on
  17 Capstone’s Board of Directors. Plaintiff reserves all rights, including but not limited
  18 to the right to contend that he is entitled to pursue formal discovery.
  19        5.     Within 30 days of the expiration of the stay described above, the Parties

  20 shall jointly submit to the Court a proposed schedule for further proceedings in this
  21 action.
  22         IT IS SO ORDERED.

  23 DATED: May 13, 2016
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                                              ________________________________________
  25                                                       DOLLY M. GEE
                                                  UNITED STATES DISTRICT JUDGE
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                      ORDER REGARDING STAY OF ACTION AND RELATED MATTERS
